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                    IN THE UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF MARYLAND


 UNITED STATES



           V.                                                 Case No. PJM-22-0209


 NICHOLAS ROSKE,

           Defendant
                                             ORDER

                                                                                lie ^
        Upon consideration of the Defendant's Consent Scheduling Motion it is this  ^         day

of July, 2022, hereby:

       ORDERED,that the motion is GRANTED;and it is further

       ORDERED, that the August 23, 2022, trial date is removed from the Court's calendar;

and it is further


       ORDERED,that the August 17, 2022, pretrial conference and filing deadlines associated

with the pretrial conference are vacated; and it is further

        ORDERED,that the deadline for the filing of pretrial motions is extended to September

6, 2022.




                                                               feter J./Messitte
                                                                mior United States District Judge
